IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA

CHARLOTTE DIVISION

)

UNITED STATES OF AMERICA ) DOCKET NO. 3:25-er-4J - KDB
)

v. ) FACTUAL BASIS

)

CRISTIAN DIONICIO-MANRIQUES _ )
)
)

NOW COMES the United States of America, by and through Russ Ferguson, United States
Attorney for the Western District of North Carolina, and hereby files this Factual Basis in support
of the plea agreement filed simultaneously in this matter.

This Factual Basis is filed pursuant to Local Criminal Rule 11.2 and does not attempt to
set forth all of the facts known to the United States at this time. By their signatures below, the
parties expressly agree that there is a factual basis for the guilty plea(s) that the defendant will
tender pursuant to the plea agreement, and that the facts set forth in this Factual Basis are sufficient
to establish all of the elements of the crime(s). The parties agree not to object to or otherwise
contradict the facts set forth in this Factual Basis.

Upon acceptance of the plea, the United States will submit to the Probation Office a
“Statement of Relevant Conduct” pursuant to Local Criminal Rule 32.4. The defendant may
submit (but is not required to submit) a response to the Government’s “Statement of Relevant
Conduct” within seven days of its submission. The parties understand and agree that this Factual
Basis does not necessarily represent all conduct relevant to sentencing. The parties agree that they
have the right to object to facts set forth in the presentence report that are not contained in this
Factual Basis. Either party may present to the Court additional relevant facts that do not contradict
facts set forth in this Factual Basis.

1. On or about January 5, 2024, within the Western District of North Carolina, the defendant,
Cristian Dionicio-Manriques, did knowingly and intentionally possess with the intent to
distribute a controlled substance, that is, five hundred (500) grams or more of a mixture
and substance containing a detectable amount of methamphetamine, a Schedule II
controlled substance.

RUSS FERGUSON

UNITED STATES ATTORNEY

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SPECIAL ASSISTANT UNITED STATES ATTORNEY

Defendant’s Counsel’s Signature and Acknowledgement

I have read this Factual Basis, the Bill of Information, and the plea agreement in this
case, and have discussed them with the defendant. Based on those discussions, I am satisfied
that the defendant understands the Factual Basis, the Bill of Information, and the plea agreement.
Thereby certify that the defendant does not dispute this Factual Basis.

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SévtrGsell, Aftorney for Defendarit

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